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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                            BRUNSWICK DIVISION


UNITED STATES OF AMERICA,                    ) CRIMINAL NOS: 2:21-cr-13
                                             )
vs.                                          )
                                             )
YORDON VELAZQUEZ VICTORIA,                   )
                                             )
               Defendant.                    )


        SPECIAL MOTION FOR IMMEDIATE DISCOVERY OF AUDIO
            RECORDINGS AND/OR VIDEO TAPE RECORDINGS
        AND TRANSCRIPTS THEREOF AND MEMORANDUM OF LAW


       COMES NOW the Defendant, Yordon Velazquez Victoria, by and through his

undersigned Counsel, and without waiving any rights, respectfully moves this Honorable

Court for the entry of an Order directing the attorney for the government to immediately

furnish him with the following:

       1.      Any and all audio tape recordings and/or video tape recordings of any

conversations overheard or recorded by the use of any electronic device or telephone

extension or any video device from which any evidence in this case may derive. This

paragraph specifically requests audio tapes, video tapes, any other tapes, transcripts, or

notes of any conversations with defendant, unindicted co-conspirators, agents of the

government, confidential informants, or prospective witnesses in this case, recorded,

clandestinely or otherwise, by any person cooperating with the government, or any

investigative or prosecutive agent of the state or federal government.
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        2.     Any and all logs, transcripts, notes, or memorandum of any audio

conversations and/or videos overheard or recorded by the use of any electronic device or

telephone extension from which any evidence in this case may derive.

                              MEMORANDUM OF LAW

        In the present Motion, the Defendant seeks the discovery of information,

documents, and like materials which the government has an affirmative duty to disclose

upon request pursuant to Rule 16 of the Federal Rules of Criminal Procedure.

Furthermore, the instant Motion seeks immediate discovery of the requested material that

is in the possession of the government prosecutor or any investigative or prosecutive

agent of the federal or state government. If, in fact, the requested tapes and/or videos

exist, then they have already been made and there is nothing to prevent the government

from immediately providing a copy to defendant and allowing defendant to test the

originals.

        This Motion sees immediate discovery of the requested material so as to avoid

unnecessary delay in the trial and to allow the defendant to determine whether or not the

tapes are audible; whether or not the tapes are complete; whether or not the tapes have

been in any way altered, or contain any material deletions; to determine whether or not

any transcripts are accurate; and, to determine whether or not the defendant desires to

submit his own copies of transcripts.

        Under Rule 1006 of the Federal Rules of Evidence, before the government could

introduce into evidence any composite tape recordings, video tapes, and transcripts which

had been produced from its original taped conversations, the originals of the underlining

materials must be made available for examination or copying by the defendant at a
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reasonable time and place. A “reasonable time” must be at a time long enough in advance

of rial to give the defendant’s counsel and defendant a meaningful opportunity to prepare

challenges to the materials and to furnish defendant’s own transcripts if desired.

       Rule 901(a) of the Federal Rules of Evidence provides that as a condition

precedent to the admissibility of evidence, that authentication is required “by evidence

sufficient to support a finding that the matter in question is what its proponent claims.”

Here the matter in question is any audio tape recordings or video conversations and any

transcripts thereof. If, in fact, defendant and his counsel are to be afforded an opportunity

to determine whether or not any tapes in this trial or transcripts thereof are, in fact “what

its proponent claims,” then defendant and his counsel must have the material for a period

long enough in advance of trial to make a complete and accurate determination thereof.

       Defendant should have a reasonable opportunity prior to trial to test all tapes and

transcripts to see if the government can lay the necessary foundation as required in

United States v. Biggins, 551 F.2d 64, 66 (5th Cir. 1977); Bonner v. City of Prichard,

Alabama, 661 F.2d 1206 (11th Cir. 1981); United States v. Richardson, 764 F.2d 1514,

1523-24 (11th Cir. 1985); United States v. Williford, 764 F.2d 1493 (11th Cir. 1985).

       If there are, in fact, tapes and transcripts of recorded conversations which will be

prepared by the government in this case, defendants are entitled to submit their own

transcripts during trial as provided in United States v. Cruz, 765 F.2d 1120 (11th Cir.

1985) and United States v. Onori, 535 F.2d 938, 947-49 (5th Cir. 1976), and restated in

United States v. Rosenthal, 793 F.2d 1214 (11th Cir. 1986).

       WHEREFORE, it is respectfully requested that this Honorable Court enter an

order directing the Government to immediately deliver for inspection and copying the
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aforementioned material or to immediately furnish the defendant with said material and

information.



       Respectfully submitted this 29th day of June, 2021.



                                            s/Mario Pacella
                                            Mario A. Pacella, # 558519
                                            Attorney for Yordon Velazquez Victoria

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                           CERTIFICATE OF SERVICE

       I, Mario A. Pacella, counsel for Yordon Velasquez Victoria, certify that I have
served all counsel of record Defendant’s Special Motion for Discovery of Audio
Recordings and/or Video Tape Recordings and Transcripts Thereof and Memorandum of
Law via the Court’s CM/ECF system on this the 29th day of June, 2021.


                                           s/Mario Pacella
                                           Mario A. Pacella, # 558519
                                           Attorney for Yordon Velazquez Victoria

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